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ROBERT FULLER and TENE FULLER,

P|aintiffs,
Case No. 05-1039 An
v.
Jury Tria| Demanded
EAST WEST MOTOR FRE|GHT, |NC.

Defendant.

 

 

RULE 16(b) SCHEDUL|NG ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are

established as the final dates for:

lNlTlAL DlSCLOSURES (RULE 26(3)(1)): June 21, 2005
JO|N|NG PART|ES:

for P|aintiff: August 5, 2005
for Defendant: September 5, 2005

AMEND|NG PLEAD|NGS:

for P|aintiff: August 5, 2005
for Defendant: September 5, 2005

COMPLET|NG ALL DlSCOVERY: February 7, 2006
(a) REQUESTS FOR PRODUCT|ON, INTERROGATOR|ES and
REQUESTS FOR ADM|SS|ONS:

February 7, 2006

T his document entered on the docket sheet in compliance j
with sure 58 and/or rs {a) FaoP on 572 I/ ZQOO 5'

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(b) EXPERT DlSCLOSURE (Rule 26(a)(2)):
(i) P|aintiff’s Experts: December 7, 2005

(ii) Defendant’s Experts: January 7, 2006

(iii) Supplementation under Ruie 26(e): January 17, 2006

(c) DEPOS|T|ONS OF EXPERTS: February 7, 2006

FlLlNG olsPoslTlvE nortost February s, 2006
FlNAL LlsTs oF wiTNEssEs AND EleBlTs (Rule 26(a)(3)):

(a) for Plaintii"f: March 24, 2006
(b) for Defendant: April 7, 2006

Parties shall have 10 days after sen/ice for final lists of witnesses and exhibits
to tile objections under Ruie 26(a)(3).

The trial of this matter is expected to last _2__ days and is SET for JURY TR|AL on
Mondayl May 8l 2006 at 9:30 A.M. A joint pretrial order is due on Fridayl Agri| 28l 2006.
in the event the parties are unable to agree on a joint pretrial order, the parties must notify
the court at least ten days before tria|.

OTHER RELEVANT MATTE RS:

interrogatories Requests for Produotion and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For exampie, if the FRCP allow 30 days fora party to
respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

lViotions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the
subject of the motion if the default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shownl or any objection to the
defauit, response, or answer shall be waived.

The parties are reminded that pursuant to Locai Ruie 7(a)(1)(A) and (a)(1)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certit"lcate of Consultation.

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The opposing party may file a response to any motion filed in this matter. Neither
party may tile an additional repiy, however, without leave of the court. |f a party believes
that a reply is necessary, it shall file a motion for leave to tile a reply accompanied by a
memorandum setting forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge
can normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter
from proceeding to tria|.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before t_he cio§e of d_iscoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT lS SO ORDERED.
’ A

. .)
S. THON|AS AN ERSON
UN|TED STATES MAGISTRATE JUDGE

Date: 9772*,1 27} 200.\/

APPROVIVOR ENTRY:
By: /{/‘?/I/\ / §:
J Y D. K|ZER, J . (BPR # 07652)
Wey for Defend t
5 South Highland Avenue
P. O. Box 1147

JaCkSOn, TN 38302-1147
(731) 423-2414

/ c -
By: , - k 777 QWW/
HAROLD F. SN||TH, JR. (BP #009 50) w/ Mii/i \

Attorney for Plaintiff

1779 Kirby Parkway, No. 1-318
|\/|emphisl TN 38138

(901) 761-6100

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01039 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

